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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                      §
In re:                                                §        Chapter 11
                                                      §
FIELDWOOD ENERGY LLC, et al.,                         §        Case No. 20-33948 (MI)
                                                      §
                    Debtors.1                         §        (Jointly Administered)
                                                      §

                                DEBTORS’ WITNESS AND EXHIBIT LIST
                                 FOR HEARING ON FEBRUARY 22, 2021

                    Fieldwood Energy LLC and its debtor affiliates in the above-captioned chapter 11

cases, as debtors and debtors in possession (collectively, the “Debtors”), file this witness and

exhibit list (the “Witness and Exhibit List”) for the hearing scheduled for February 22, 2021 at

2:30 p.m. (Prevailing Central Time) (the “Hearing”):

                                                    WITNESSES

                    The Debtors may call any of the following witnesses at the Hearing:

                    1.        Michael T. Dane, Senior Vice President and Chief Financial Officer,
                              Fieldwood Energy LLC

                    2.        Any witness called or listed by any other party; and

                    3.        Any rebuttal witnesses.




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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778);
    Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489);
    Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM
    Shelf LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP
    LLC (1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’
    primary mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.




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                                                      EXHIBITS
      EXHIBIT NO.
                          The Debtors may offer into evidence any one or more of the following exhibits:




                                                                                      OBJECTION


                                                                                                  ADMITTED
                                                                            OFFERED
                                        DESCRIPTION                                                          DATE




                       Emergency Motion of Debtors for Entry of Order
                       (I) Approving Debtors’ Entry into Sublease
        1.             Amendment and (II) Authorizing Debtors’
                       Assumption of Sublease (ECF No. 869)
                       (the “Sublease Motion”)

                       Sublease Amendment, attached to the Sublease
        2.
                       Motion as Exhibit A

                       Declaration of Michael Dane in Support of Motion
                       of Debtors for Entry of Order (I) Approving
        3.             Debtors’ Entry into Sublease Amendment and (II)
                       Authorizing Debtors’ Assumption of Sublease,
                       attached to the Sublease Motion as Exhibit C

                       Affidavits of Service for Mailings for the Period
        4.
                       from February 7, 2021 through February 13, 2021


        5.             Any exhibit designated by any other party


                       Any pleading or other document filed with the
        6.             Court on the docket of the above-captioned chapter
                       11 cases
                       Any exhibit necessary to rebut the evidence or
        7.             testimony of any witness offered or designated by
                       any other party




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                    The Debtors reserve the right to amend or supplement the Witness and Exhibit List

at any time prior to the Hearing.

Dated: February 18, 2021
       Houston, Texas

                                                 Respectfully submitted,


                                                  /s/ Alfredo R. Pérez
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                                                 -and-
                                                 WEIL, GOTSHAL & MANGES LLP
                                                 Matthew S. Barr (admitted pro hac vice)
                                                 Jessica Liou (admitted pro hac vice)
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                                                 New York, New York 10153
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                                                 Proposed Attorneys for Debtors
                                                 and Debtors in Possession




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                                    Certificate of Service

I hereby certify that on February 18, 2021, a true and correct copy of the foregoing document
was served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                      /s/ Alfredo R. Pérez
                                                     Alfredo R. Pérez




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